Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 1 of 9 - Page ID#: 1
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 2 of 9 - Page ID#: 2
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 3 of 9 - Page ID#: 3
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 4 of 9 - Page ID#: 4
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 5 of 9 - Page ID#: 5
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 6 of 9 - Page ID#: 6
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 7 of 9 - Page ID#: 7
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 8 of 9 - Page ID#: 8
Case: 2:22-cv-00094-WOB-EBA Doc #: 1 Filed: 08/01/22 Page: 9 of 9 - Page ID#: 9
